of

Case 1:05-cv-00326-LG-JMR Document 76-6 . Filed 08/14/08 7 Page 1 of 28

NAME: JeecesWGewee EXAM 2 WEEK

DATE: 26 -2/-02 CORRECTIONAL OFFICER TRAINING

10.

11.

What are the six questions, I should as myself before writing a report?

WHO? WHE) =
WHAT TZ Wi 2
WHERE © HOW ©

What color ink should I use in writing reports? SACK. Liat 7

Most police reports are written in what person (tense)? § 7745.77

What reference book should I use when writing a report? Zwwre™ AV IBOOL.

Before turning a report in, always Aeeor KEAD reports.

List two ways an officer can stay informed at work?

READ Folie), HMDS REO frilil@s

What kind of inmate counts do we do, and why? Aaenwt—- “7D
CUE ML. TO PEVETU ZEB CUES

- Should I as an officer stay in a routine when at work? 20

List two items that some correctional officers carry with them while on duty?

D0. SALE VLD CULE

To be informed as I come on shift, I should not ask the off going officer what
took place? ( ) True {xj False

How can I be a Professional Jail/Correctional Officer while patrolling my

Jail? Bee Arvenn0n 70 prumArvé Beplores., Fer

ME feDtUgES Ful Chie? ‘5 KE, UO LISTED) .

Page 2 of 28

Filed 08/14/08

~ Case 1:05-cv-00326-LG-JMR Document 76-6

12.

13.

14,

15.

; 3 MERVOKS ESS

The Psychomotor Epilsey can be easily mistaken fo,
l_ LUC pve OSE
2._YEDRT BISA

During a seizure, the inmate could be semi-conscious and could react violently, ‘Tay. vis er shou.

inmate. TRUBGALSP

‘Affer a forced homosexual attack in jail the inmate may show what signs:
1_ MUM ETY

2. SLEPL ESS ANGES

4. KEP.

List (4) types of inmates that fall into a high risk for suicidal types:
AW) EMEST” Tinh an nhTes

2 ALLOWOLIES. {RUE ADEVETES

3. TERMUMLLY TOL

6 MVEMNLE

Officers must develop an ability to maintain poise and ROLES /OsOAL LLM?

The best way to hear what the inmate has to sayisto 2/57EA/

Non-verbal communication is comumunic

om ations that takes place outside of language. Popularly called
what: 2a0y Lyweupeél.

Officers should criticize inmates in front of other inmates in order to teach an object lesson. TRUEGALSE
Officers can be held legally liable if he/she violates proper proced: es TRUB) ALSE
An officer must be Joyal to his La TET I

TRUE the jails internal problems with inmates so they will know what is going on in the jail.

vere

27.

28.

29,

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31

32.

Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08

Page 3 of 28

~ Common Signs on an inmate being booked in that has abused alcohol is:

L_SUMLLED SPERM 1 SWELL of ALLOMOL_

3. 8 LoeeD Jabba sy 4. STHCCALUE telph pg

List (4) emergency procedures that an officer should follow if a suicide is discovered in the jail

L_MLODEV SulOR VEC 2, Ltthl deve, MELMCHA [Hern pvee

3. LOOM ERIT- EVEFEY THUS 4, KEE WUIZES EPUE A. FER SONS C1077

As the first officer on a crime scene list (3) things that you should do:
1 BAK OK THE. SCE

2. Doe mewwT ZLUMES [UpES, Of CY ERIOLD Sx TERIUE LEHITHUE
3 SUMKE ft SKEET OL THE SCC

You are going to conduct a search of an 8x10 cell of two inmates, how much time will it take you? 3770)

What are the positions and responsibilities of a three man search team:

NOME SBHECH TOP NL
1 UE SERRE paver. Kt
3 Ue WATCH LOMMES, _~aeD FARE WOT

What equipment would you carry in and out with you on a search of a cell: (list 8 items, explain what you

“would do with each item)

lL. Lives - FOIE A77048)

ELAS OBI T2366 pO LEWIS.
3 SCLEWD RW _— CEGUUE LIGHT FINTURE Coviees

At MULE. — [YELP FO $e tT BEDS -

5 LADLE < 70 CHC BYERNEAD Cp TOUS.
6. ATELYD - Deca real CLERSTHMOI EG

TLR Eage~ COWELT” OfCGROE

8 eT — CULE On TRH ERD flO ETHER. SEI ZED Terns
-Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 4 of 28

33.° Federal Civil Rights Violation claims will be filed uader:

A. 48 USC 1993
B. = = 42 USC 1987

CED 42 USC 1983
D. State Circuit Court
34, When a plaintiff has suffered an injury at the hands of ant officer who. was improperly supervised, trained or
otherwise, allowed to cause the injury by the actions of a senior official, the plaintiff may make a claim under
VI CARIOUS liability.
Who isthe Plaintiff: PGCSOA) CED SGLYOG Lr $t/7"
Who is the Defendant: ZR  GF777VG SUG)
37. How has this class helped you to be a better Correctional Officer: 27 7S GWU 778

MORE” LYUSIGHT YUTO RERSOUS WHY SWE fPOUTES eT HET

he

LOY THE FP, £7 His dt-80 GWE gE 6 BETICR.
LWDERS (HNC On) THE. LRACCR. GS, JO MCLE
VRRICUS Sp THPPTIUNIS

HAVE YOU BEEN HONEST !
Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 5 of 28

~ OC BASIC EXAMINATION

KE COCTIF

TECHNIQUES PASS/FAIL COMMENTS

(1] Tactical Priorities

py Gripping Methods
[3] Spraying Methods
[4] Securing Arrestee

[5] Personal Decontamination
[6] Area Decontamination

[7] Understands OC as per
| Ladder of Force

- [8] Guidelines/Policy Read
_~* "and Understood

[9]. Personally Experienced Effects
of O.C.

NAME MEQHSE, Jgile) RANK Leei7Y _OEPARTMENT “C52

INSTRUCTOR they

TJA OC Instructor Certification#

DATE TESTED/CERTIFIED _G6//7/92_

Signatué -7/ |

25
Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 6 of 28

O. C. BASIC WRITTEN EXAMINATION

Name: STREED) JLECHIEE
Date: C6 /2 ZL OR Location:

SSN#E B27 SO BUF

_ -Please circle the correct answer-
1, Whatis the absolute minimum distance 0.C: should be sprayed?

A. 10 feet a iB. 2 feet

@© 5.5 feet DD. 25 feet

5 2, - Whati is the active ingredient i in'0.C.? ©

@oreoresin oe  B oil

C. Capsaicin os De S alapeno peppers
3 - How long do. the effects last when a. subject i is sprayed?

@ 30-45 minutes. . : B, days .

C. 10 — 15 minutes |. oO D. less than a minute

4 “Where i is O.C. placed: 8 adder of force?

A. Deadly’ force” ~ B. - After verbal direction

C. Any step — . DP Between steps 3&4
5. : “Why is it important to read the O.C. Administrative ‘warning?
(A) Medical liability - B. Miranda warning
C. Evidence DL ARR

6. What does 0.C. effect when sprayed on an subject: {list at least 3 3 effects)

— Bueanng SUR TON
— SueLLw6 OF SFT TUIEME

Leu PUG
Case 1:05-cv-00326-LG-JMR Document 76-6

ov DEFENSIVE TACTICS EXAM
Name: JED) A ELLUSE

Revised 06/11/02

Filed 08/14/08

Page 7 of 28

Agency: Zt. LS LD

Date: _G LE Jo2.

Score:

Survival stress can activate the body’s sympathetic nervous system (SNS) and create

a condition commonly known as the“ _-véy7

GC _FU/gx47- “ response.

This is.a powerful survival mechanism shared by all mammals enabling them to
completely focus all-of the body’s resources on either charging toward or running

away from an opponent.

List the Stages of Reaction time, in order:

a. FERLEIWE

b. Ht vee) GV lM iI Ee

c. FORM LOTE Le Lfied .

d. Laurie 4 aor, AerI0

The maximum amount of time that an officer will be able to maintain maximum

strength and endurance will be _/S_ 23? Zo27s

List, in order, the Levels of Control and Levels of Resistance.

LEVELS OF CONTROL

a. OFF CER FRESCIUCE

b. YEXGAL Di REC WOES

C. :EnPTY Mrwdd Cor TICOL
1.5067 €7007Y 00D
2. KAD CrP TH PUD

4, Duieerienarve Wep(0vs

|. LOFT LUIGRMEDI ATE: AEATCIO
2. HRD Lr? TEGOUTIE DINTE LUEPO OM

©. 2 THN Cop CE
LEVELS OF RESISTANCE

a. Ps ¥GHOLO GI Cpe WOTIVMIDATIONW

b. VERBAL gwar ~ Cor0FL /UCE

C.PASE IVE. EEA STHIVCE

ah Dee wElvE REBISTIWIEE

6. MCTIVE F9C 6REESIOI

f AQRsvArveD CCTIVE ARC (CERES JOLO
-Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 8 of 28

5. The arrival of an officer in uniform is an example of what Level of Control?
a. Psychological Intimidation
b. Deadly Force
CD Officer Presence

6. The verbal command of an officer to a subject is an example of what Level of
Control?
@ _ Verbal Direction
Officer Presence
 O Passive Resistance

7. The use of a nerve pressure point technique by an officer on a passively resisting
subject is an example of which Level of Control? __
a. Soft Intermediate Weapon Control Technique
b. Hard Empty Hand Control Technique
- &> Soft Empty Hand Control Technique

8. . A Brachial Stun to a resisting subject by an officer is an example of which Level of
. Control?
a. Soft Empty Hand Control Technique
: @® - Hard Empty Hand Control Technique
te. Hard Closed Hand Control Technique —

9. The use of an. 1 Impact Weapon by an, officer when applying a joint lock is an example
of which Level of Control?
a. Hard Intermediate Weapon Control Technique
b. Soft Empty Hand Control Technique
€p Soft Intermediate Weapon Control Technique

“10. The principles of controlling resistive behavior are:
a. Pain Compliance —
b aoance Displacement
c. DSTKAL THI TELLIN QUES
ad. CLenve 4 Hloro8 DVS MCETION
e STUMMECG TECHNIQUES

11. The principle used to ensure the transfer of maximum kinetic energy to create a motor
dysfunction is known as:
a. Principle of Control
OS Fluid Shock’ Wave Principle
Brachial Stun Principle

12. The zone of recommended safe distance is referred to as the:
a. Safe Zone. .
&) Reactionary Gap
c. Safety Gap
. > Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 9 of 28

13.

~ 14,

15.

16.

17.

18.

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20.

2h

An officer confronted by an unarmed but potentially aggressive subject should
maintain what distance?

a. 3 feet
6 feet.
c. 9 feet

The Relative Position which should be avoided, whenever possible, is referred to as
the:

\@ __siInside Position .

b. Interview Position
Cc. Outside Position

Touch Pressure control techniques were primarily designed to control what type of
resistance? LLEEWE LES LE TPUCE

Identify the pressure/motor point that is struck with an empty hand to create mental
ino?

a. Mandibular Angle

b. __- Brachial Plexus (Clavicle Notch)

SS Brachial Plexus (Origin)

An officer, while escorting a subject, experiences the subject lock his arm out and —
continue to resist, The officer should use Which joint lock?

a. Iron Wrist Lock Takedown

b, Transport Wrist Lock. Takedown

CG) Straight Arm Bar Takedown

TIER)
The purpose ofa Distraction Technique is isto: wEAKENW A 7 27002 a

A Speedcufting Technique is recommended when an officer encounters no resistance
_from a subject. This technique is an example of which Level of Control?
Soft Intermediate Weapon Control —
b. Soft Empty Hand Control
c. Hard. Empty Hand Control

Identify the three situations when an officer is justified to handcuff a subject.
a. AONE £38 Lorytul ZED

b. LMECTY | POR, OF Pitz. OTHERS

c. ELUATE

In order to justify an impact weapon strike by an officer; the officer must believe that
‘his/her empty hand skill level is ineffective and:

a. The baton is not used to threaten or intimidate the Suspect

b. _. The baton is used to temporarily disable the offender —

Cc. Lethal force isnot warranted

d,) . Allofthe above
Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 10 of 28

22. The most effective impact weapon strike is the:
a. Backhand Cutting Strike
b. Forward Cutting Strike
> Forward Fluid Shock Wave Strike

23. When.an officer strikes a suspect with an impact weapon, the delivery should be
made with maximum power to minimize the need for multiple strikes and to:
Minimize the risk of injury
db Create a permanent disability
c. Both A and B

. 24. - An officer, at the scene of a disturbance, is required to strike a subject witha five (5)
cell flashlight in the Common Peroneal motor point in order to gain control of the
-person. This is an example of which Level of Control?
a. Soft Intermediate Weapon. Control Technique
Hard Intermediate Weapon Control Technique
C. Hard Empty Hand Control Technique

- 25. . Ifcontrolling the opponent camnot be maintained, the officer should?
a. Shoot the opponent

Ce Disengage
8 Keep fighting

(26. The M.A.C.H. Lhold isa $7227 G77/ and EW/7LY __ level hold.

27... The M.A.C.H. 3 hold uses which of the subject’s momentum?
a. Forward

Cbd Backward
c. Downward
28. .. The M: ACH. 2 hold uses which of the subject’s momentum?
@ Forward
6b. Backward
c. Downward

29, The M.A.C.H. 5 hold is a CAWMMSLiL level bold.

30, | What is the most important aspect of teamwork?
a. Leadership ,/
Communication
Maintaining Control

31. What are the two words that are used most when multiple officers are handcuffing a
subject?  § ASCH & CEL.

_ 32. ‘The check ahd trap is used in which two M.A.C.H. holds? 3 &
- Case. 1:;05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 11 of 28

33.

34,

35.

36.

37,

A police officer responding to an alarm is confronted by a subject with a firearm.
The officer orders the suspect to drap the weapon, however, he refuses and raises the

. weapon and points it at the officer. The officer shoots and fatally wounds the suspect.

This is an example of which Level of Resistance and which Level of Control?
a. Active Aggression and Hard Intermediate Weapon Control Technique
b. Active Aggression and Deadly Force

Co) Aggravated Active Aggression and Lethal Force

After breaking up an altercation between two subjects, one individual refuses to obey
the commands of the officer to leave the area. When the officer attempts to
physically remove the individual, he/she “goes limp”. The subject is displaying
which Level of Resistance.

a. Defensive Resistance
Passive Resistance
Cc. Passive Aggression,

A subject who pulls away from an officer when he is being escorted from one place to
another is demonstrating which Level of Resistance.

Defensive Resistance

Active Aggression
c, Passive Resistance

A subject who is intoxicated has been placed under arrest. The subject becomes
resistive and begins to kick the officer in the shins. Which Level of Resistance is
he/she demonstrating?

Ca? Active Aggression
b. Deadly Force Assault
C. Defensive Resistance

Officers are dispatched to a breaking and entering in progress. Upon artiving at the
scene, the victim describes the perpetrator and the officers remember passing a

_ subject who fits the physical description. While patrolling in the neighborhood, they

spot the suspect .and order him to stop, as they want to talk to him. He reaches into
his waistband and pulls out-a screwdriver and begins to assault the officer. This is an
example of which Levet of Resistance? ,
a. Active Resistance
b. Active Aggression

Aggravated Active Aggression
Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 12 of 28

DEFENSIVE TACTICS
PRACTICAL EXAM

NAME: .ZrmwA Abra. se

AGENCY:
SEMINAR LOCATION: HLADCL
DATE: 14 LANE 1 DY.
SCORE: {
TESTED By:_MAywerr-
SUPERIOR: DEMONSTRATED WITH EXCEPTIONAL SKILL
ADEQUATE: SECOND DEMONSTRATION WAS CORRECT WITH VERBAL.
CRIT. IQUE
FAIL: FAILED TO DEMONSTRATE ACCEPT ABLE TECHNIQUE AFTER3
. CRITIQUES

' Thereby understand that the passing criteria for this practical exam must meet a mibimum
_ of an adequate score for every component of every technique. .

Name:

Date:

Location:

I do hereby acknowledge that the afore signed individual has passed the Practical Exam
"Name: Weep Malu

Certification rank:

(Expiration date: 8/ 0D

Case 1:05-cv-00326-LG-JMR Document 76-6

PRESSURE POINTS
A. MANDIBULAR ANGLE
1. Location

2. Direction
3. Stabilization

Comments:

Filed 08/14/08

Page 13 of 28

INFRA ORBITAL

1. Location .

2. Direction

3. Stabilization

Comments:

B A
wx

YoaA
oA
BX A
A OA

HYPOGLOSSAL
1. Location

2. Direction

3. Stabilization

Comments:

RR OR
>

Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 14 of 28

DEFENSIVE COUNTERSTRIKES WITH THE HANDS

A. BRACHIAL STUNS
AL. Palm heei brachial stun (strong hand)

a. Location B
b. Strike is made with the palm yx
Cc. ‘Fluid shock wave principle applied x

Comments:__

2. Back of the hand strike (off hand)

a. ~ Location A A
b. Strike is made with the back of the hand
c. Fluid shock wave principle applied Ss A

Comments:
3. Inside/forearm brachial stun (strong arm)

a. Location VS A

b. Strike is made with the inside forearm x

c. Fluid shock wave principle applied y A
Comments:

4. Back/forearm brachial stun (off arm)
a. Location Ss A
b. [Strike is made with the back of forearm & A
Cc : Fluid shock wave principle applied ~ J A

Comments: ’

Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 15 of 28

B. STRAIGHT PUNCH -

1. Arm delivery close to body AB A
2. Strike is delivered to the torso A A
3. Fluid shock wave principle applied B
Comments:
Cc. PALM HEEL STRIKE
1. Arm delivery is in a thrusting motion B A
2. Impact is made with the palm heel to the torso x” A
3. F luid shock wave principle applied wy
| Comments:
_ A.” . STANDING METHOD
1. Approach is from level II % . /s A
2. Control is established by the Double Push Principle 4 OA
3. Second cuff is pushed on without loss of control x A

~ Comments:

Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 16 of 28

B. TAKEDOWN FROM KNEELING POSITION
1. All slack is removed from the cuffed hand
2. Decentralization towards the II % position

3. Iron wrist lock is applied simultaneously with
decentralizing pull

4. Straight arm bar is applied immediately after

wm Ne
>

proning the subject F
5. Second cuff is pushed on without loss of control F
Comments:
JOINT LOCKS

> All techniques must be demonstrated from the Escort Position
. A. STRAIGHT ARM BAR

Components to be demonstrated

1. Decentralize the center AB F

2. Maintain control over subject’s arm Ss F
3. Maintained balance while lowering center for .

takedown. SZ F

4, Control for handcuffing procedure i/ A F

Comments:

_ DEFENSIVE COUNTERSTRIKES WITH THE LEGS
A. KNEE STRIKE

1. Stabilization of the target x A F
> °

2. Strike is delivered to a motor nerve in the leg
. Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 17 of 28

3. Impact should drive through the targeted area A

Comments:

B. ANGLE KICK

1. Step and plant the weak side foot at a 90 degree

angle to a 90 degree angle to outside x A
2. Delivery uses torso rotation A A
3. Impact is made with middle of the shin A A
4, Maintained high guard position : * A
5. Rapid, balanced recovery P A
Comments:
_ STRAIGHT BATON

A. FIELD INTERVIEW STANCE

Se

1. Strong side foot back slightly

2. Resting place of baton is parallel on the back of the

leg
3. Balance centralized sx
Comments:

B. READY STANCE

1. Load action of baton stays parallel to the body fp A

2. - Weak band raises to high guard position as baton

‘loads’ A A
3. Resting position of baton is on the crown of the :

deltoid muscle. - A

Comments:

Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 18 of 28

C. | FORWARD FLUID SHOCK WAVE STRIKE

1. Baton grip is approximately one quarter from
the end. AK A
2. Impact delivery is parallel to the ground & A
3. Impact is emphasized by torso rotation Ss x
4. Impact is made with fluid shock wave principle PB A
5. High guard with weak hand is maintained with
delivery/recovery & A
Comments: _
D. | FORWARD CUTTING STRIKE
1. Baton grip is approximately one quarter from .
the end. .- P
2. Impact delivery is parallel to the ground -
3. Impact is emphasized by torso rotation > .
4. Impact is delivered with a continuous cut-
through motion * A
5. Baton is recovered to a backhand loaded
' position y A
Comments:
E. | BACKHAND STRIKE
1. Baton load is under off side arm S A
2.0 Impact is emphasized with torso rotation »
3. Baton recovery is to the strong side load Ss A

Comments:
Case 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 19 of 28

SHOULDER PIN RESTRAINT
> Verbal explanation of the three levels of control

1. LevelI (Rear neck lock, no compression) Ss

ical compression until conscious compliance) S~" A F
. a“

a“

2. Level II (Mec

3. Level I (Mechani

ompression until meee "8g A F
Comments: _. .

> Physical componentsto be demonstrated

4. Decentralizing balance to rear S A F
5, Neok brace principle S A F
6. Hand clasp S AF
7. Elbow levefage to decentralize A F
8. Han , AF
9. Simulated method of revival s OA F

Comments:

MECHANICAL ADVANTAGE CONTROL HOLDS

2. Tight hold into shoulder

MACH 1 1... Doe SiDoe established () A F
2. Back of hand across jaw line 6) A F
3. /Backwards movement @ A F
MACH. 2 1. | Movement to arm bar (i) A FE

3. Forward movement
Case’ 1:05-cv-00326-LG-JMR Document 76-6 Filed 08/14/08 Page 20 of 28

2. Check & Trap used

3. Backwards movement

M.A.C.H. 3 1. Hold concentrated on shoulder, elbow 5
: &wist (3) AF
2. Check & Trap used (3) A F
3. Backwards movement (S) A F
MACH. 4 1. _. Hold established at elbow and wrist iy AF
2. Forward movement ° @ A F
| MACH. 5 1. Hold concentrated in the wrist and hand (S) © F

> > > >
ey

4, Dropping Center (to begin takedown)

WALL DRILLS

S

1. Focus is on instructor and surroundings
Filed 08/14/08

Page 21 of 28

05-cv-00326-LG-JMR Document 76-6

Case 1

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Page 22 of 28

Filed 08/14/08

Case 1:05-cv-00326-LG-JMR Document 76-6

DEFENSIVE TACTICS.

St. Marte Maswell, HOSD

Sas GOES P
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ee - UTHO, USA :

Case 1:05-cv-00326-LG-JMR Document 76-6

Filed 08/14/08 Page 23 of 28

SIGN-IN SHEET

DEPT.

| DATE

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~ Joseph Austins 3g [coctectiows I ALE 9
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oS Michael. Cooke. 20 Corpecchions: O ha ol.

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RRS

Department

vice Correctional Officer Course
_ (40 HOURS)

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998 GOES 34625
All Rights Aooned . LITHO. IN U.S.A.
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Filed 08/14/08

Page 25 of 28

07/16/01

07/17/01

07/18/01

07/19/01

HARRISON COUNTY SHERIFF’S DEPARTMENT

CORRECTIONAL OFFICER 40 HOUR/PRE-SERVICE

0800 -- COURSE OVERVIEW

0830 - US CONSENT ORDER

9300 — CONDUCT & PROFESSIONALISM
1030 -- INMATE CLASSIFICATION
1200 — LUNCH

1300 -- RADIO COMMUNICATIONS
1400 — FIRE SAFETY

1500 -- INMATE GAMES

1600 -- JAIL SECURITY

1700 — EMERGENCY POLICY
1800—- END OF DAY

0800- MEDICAL DEPT.

0900— CHAPLAIN SERVICES

1000-- INMATE RULES

1100-- REPORT WRITING

1200— LUNCH

1300-- SEXUAL HARASSMENT

1430— SUICIDE PREVENTION

1430-—- CULTURAL DIVERSITY &ETHICS
HUMAN RELATIONS

1800-—- END OF DAY

0800 — FIRST AID & CPR

1200 - LUNCH

1300 —- DISCIPLINARY PROCESS

1430 —- JADL SECURITY/KEY CONTROL
1530 — 0.C. SPRAY

1800 — END OF DAY

6800 — TRAINING ISSUES

0900 - USE OF FORCE

1000 — CONTRABAND SEARCHES
1100—- HANDCUFFING TECHNIQUE
1200— LUNCH
1300— UNIFORM & PAPERWORK
1700— GRADUATION

1800—END OF DAY

DEP. WALDROP
LYNN KELLY
CAPT. TAYLOR
LT. GARSTKA

SGT. PERRONE
LT. MCGOWIN
CAPT. TAYLOR
CAPT. TAYLOR
CAPT. TAYLOR

MEDICAL STAFF
CHAPLAIN

DEP. TAYLOR
DEP. TAYLOR

INV. KREIGER
CAPT. LACY
MAJ. RILEY
MAJ. RILEY

LT. KELLY

DEP. TAYLOR
CAPT. TAYLOR
DEP. DILL

INST. O’NEDLL
INST. O’NEILL
INST. O’ NEILL
INST. O’NEILL

DEP. WALDROP
MAJ. RILEY

40 HOUR CLASS COMPLETION, RECEIVE CERTIFCIATION

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